            4:21-bk-10845 Doc#: 53 Filed: 01/21/22 Entered: 01/21/22 23:23:49 Page 1 of 3
                                                              United States Bankruptcy Court
                                                               Eastern District of Arkansas
In re:                                                                                                                 Case No. 21-10845-pmj
LaTasha Piggee                                                                                                         Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0860-4                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 19, 2022                                               Form ID: nhrg                                                             Total Noticed: 17
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 21, 2022:
Recip ID                 Recipient Name and Address
db                       LaTasha Piggee, 950 Military Rd, Apt 622, Jacksonville, AR 72076-5397
6651801                  ACCESS CRDT, 11225 Huron Ln # 222, Little Rock, AR 72211-1861
6651802                  Access Credit Management, Inc, PO Box 250531, Little Rock, AR 72225-0531
6670905                + Pinnacle Service Solutions LLC, 4408 Milestrip Rd #247, Blasdell, NY 14219-2553
6651810                # The McHughes Law Firm, PLLC., PO Box 2180, Little Rock, AR 72203-2180

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
6651800                   Email/Text: mnapoletano@ars-llc.biz
                                                                                        Jan 19 2022 21:49:00      ABILITY RECOVERY, 1 Montage Mountain Rd
                                                                                                                  # A, Moosic, PA 18507-1777
6651803                   Email/Text: ally@ebn.phinsolutions.com
                                                                                        Jan 19 2022 21:49:00      ALLY FINANCIAL, PO Box 380901,
                                                                                                                  Bloomington, MN 55438-0901
6659806                   Email/Text: ally@ebn.phinsolutions.com
                                                                                        Jan 19 2022 21:49:00      Ally Financial, PO Box 130424, Roseville, MN
                                                                                                                  55113-0004
6664339                + Email/PDF: ebn_ais@aisinfo.com
                                                                                        Jan 19 2022 21:47:35      Capital One Bank (USA), N.A., by American
                                                                                                                  InfoSource as agent, 4515 N Santa Fe Ave,
                                                                                                                  Oklahoma City, OK 73118-7901
6652125                + Email/Text: ebnnotifications@creditacceptance.com
                                                                                        Jan 19 2022 21:49:00      Credit Acceptance, 25505 W Twelve Mile Rd,
                                                                                                                  Suite 3000, Southfield, MI 48034-8331
6651805                   Email/Text: ebnnotifications@creditacceptance.com
                                                                                        Jan 19 2022 21:49:00      Credit Acceptance, PO Box 513, Southfield, MI
                                                                                                                  48037-0513
6651806                   Email/Text: bankruptcy_notifications@ccsusa.com
                                                                                        Jan 19 2022 21:49:00      Credit Collection, PO Box 607, Norwood, MA
                                                                                                                  02062-0607
6651807                   Email/PDF: pa_dc_ed@navient.com
                                                                                        Jan 19 2022 21:47:13      DEPT OF ED/NAVIENT, PO Box 9635, Wilkes
                                                                                                                  Barre, PA 18773-9635
6651809                   Email/Text: bknotice@ercbpo.com
                                                                                        Jan 19 2022 21:49:00      ERC, PO Box 57547, Jacksonville, FL
                                                                                                                  32241-7547
6651808                   Email/Text: credit7@entergy.com
                                                                                        Jan 19 2022 21:49:00      Entergy Ar, Entergy Arkansas Inc, PO Box 8101,
                                                                                                                  Baton Rouge, LA 70891-8101
6655560                   Email/PDF: pa_dc_ed@navient.com
                                                                                        Jan 19 2022 21:47:32      Navient Solutions, LLC. on behalf of The Dpt of
                                                                                                                  ED, Navient Solutions, LLC. on behalf of,
                                                                                                                  Department of Education Loan Services, PO BOX
                                                                                                                  9635, Wilkes-Barre, PA 18773-9635
6658171                   Email/Text: consumerbankruptcy@simmonsbank.com
                                                                                        Jan 19 2022 21:49:00      Simmons Bank, PO Box 7009, Pine Bluff, AR
            4:21-bk-10845 Doc#: 53 Filed: 01/21/22 Entered: 01/21/22 23:23:49 Page 2 of 3
District/off: 0860-4                                               User: admin                                                            Page 2 of 2
Date Rcvd: Jan 19, 2022                                            Form ID: nhrg                                                        Total Noticed: 17
                                                                                                            71611

TOTAL: 12


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
6651804           ##            COLLECTIONS SERVICES, 1501 N University Ave Ste 950, Little Rock, AR 72207-5298

TOTAL: 0 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 21, 2022                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 19, 2022 at the address(es) listed
below:
Name                             Email Address
Jack W. Gooding
                                 noticing@ark13.com

Matthew David Mentgen
                                 on behalf of Debtor LaTasha Piggee matthew@mentgenlaw.com G17780@notify.cincompass.com;fhaoqina@mailparser.io

U.S. Trustee (ust)
                                 USTPRegion13.LR.ECF@usdoj.gov
                                 Shari.Sherman@usdoj.gov;jackie.a.evatt@usdoj.gov;jill.p.eschbacher@usdoj.gov;mary.b.mansfield@usdoj.gov;Kent.H.Johnson
                                 @usdoj.gov


TOTAL: 3
      4:21-bk-10845 Doc#: 53 Filed: 01/21/22 Entered: 01/21/22 23:23:49 Page 3 of 3
Form nhrg
                                    UNITED STATES BANKRUPTCY COURT
                                              Eastern District of Arkansas


In Re:      LaTasha Piggee
            Debtor
                                                                                   Case No.: 4:21−bk−10845
                                                                                   Chapter: 13
                                                                                   Judge: Phyllis M. Jones

PLEASE TAKE NOTICE that a Evidentiary Hearing has been scheduled before Judge Phyllis M. Jones at

U.S. Bankruptcy Court, 300 W. 2nd Street, Little Rock, AR 72201

on 3/1/22 at 09:30 AM

to consider and act upon the following:

51 − Motion to Dismiss Case filed by Trustee (etrustee)

Attorneys are directed to contact the Courtroom Deputy as soon as possible prior to hearing if this matter will
require more than 30 minutes to be heard.

HEARINGS INVOLVING A REQUEST TO MODIFY THE STAY:
For compelling reasons, the Court hereby orders that the automatic stay shall remain in effect pending the outcome of
the above−scheduled hearing, in accordance with 11 U.S.C. §362(e).

If you will be presenting evidence, the courtrooms are equipped with evidence presentation equipment. Please contact
the Courtroom Deputy, at 501−918−5642, if you would like to schedule a short training session before court.

If you will be introducing exhibits, please bring a copy for the staff attorney.

PLEASE NOTE THAT CELL PHONES WITH A CAMERA ARE NOT PERMITTED IN THE COURTHOUSE
WITHOUT A COURTHOUSE TECHNOLOGY PERMIT.


Dated: 1/19/22
                                                        Linda McCormack, Clerk
                                                        By:
                                                        Lisa McDaniel
                                                        Deputy Clerk
